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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

AMICA MUTUAL INSURANCE                :
COMPANY,                              :       1:09-cv-674
            Plaintiff,                :
                                      :       Hon. John E. Jones III
                   v.                 :
                                      :       Hon. Martin C. Carlson
EDWARD FOGEL AND                      :
MAUREEN FOGEL,                        :
            Defendants.               :

                                MEMORANDUM

                                  July 29, 2010

THE BACKGROUND OF THIS MEMORANDUM IS AS FOLLOWS:

      This matter is before the Court on the Report and Recommendation

(“R&R”) of Magistrate Judge Martin C. Carlson (Doc. 67), filed on June 7, 2010,

which recommends that we: (1) grant the Motion for Summary Judgment of

Plaintiff Amica Mutual Insurance Company (“Plantiff” or “Amica); (2) deny the

cross-Motion for Summary Judgment of Defendants Edward and Maureen Fogel

(“Defendants” or “the Fogels”); and (3) grant summary judgment in favor of the

Plaintiff on Defendant’s counterclaim for bad faith under 42 Pa. C. S. A. § 8317.

      Defendants filed objections to the R&R on June 18, 2010. (Docs. 68 and

69). Plaintiff opposed the Defendants’ objections on July 8, 2010. (Doc. 71).

Defendants filed a reply on July 2, 2010. (Doc. 70). Accordingly, this matter is

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ripe for our review. For the reasons that follow, we shall overrule the Defendants’

objections and adopt the R&R in its entirety.

I.    STANDARDS OF REVIEW

      A.     Review of Magistrate Judge’s R&R

      When objections are filed to the report of a magistrate judge, the district

court makes a de novo determination of those portions of the report or specified

proposed findings or recommendations to which objections are made. 28 U.S.C. §

636(b)(1); United States v. Raddatz, 447 U.S. 667, 674-75 (1980). The court may

accept, reject, or modify, in whole or in part, the magistrate judge’s findings or

recommendations. Id. Although the standard of review is de novo, 28 U.S.C. §

636(b)(1) permits whatever reliance the district court, in the exercise of sound

discretion, chooses to place on a magistrate judge’s proposed findings and

recommendations. Raddatz, 447 U.S. at 674-75; see also Mathews v. Weber, 423

U.S. 261, 275 (1976); Goney v. Clark, 749 F.2d 5, 7 (3d Cir. 1984).

      B.     Summary Judgment

      Summary judgment is appropriate if the record establishes “that there is no

genuine issue as to any material fact and that the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(c). Initially, the moving party bears the

burden of demonstrating the absence of a genuine issue of material fact. Celotex


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Corp. v. Catrett, 477 U.S. 317, 323 (1986). The movant meets this burden by

pointing to an absence of evidence supporting an essential element as to which the

non-moving party will bear the burden of proof at trial. Id. at 325. Once the

moving party meets its burden, the burden then shifts to the non-moving party to

show that there is a genuine issue for trial. Fed. R. Civ. P. 56(e)(2). An issue is

“genuine” only if there is a sufficient evidentiary basis for a reasonable jury to find

for the non-moving party, and a factual dispute is “material” only if it might affect

the outcome of the action under the governing law. Anderson v. Liberty Lobby,

Inc, 477 U.S. 242, 248-49 (1986).

      In opposing summary judgment, the non-moving party “may not rely merely

on allegations of denials in its own pleadings; rather, its response must ... set out

specific facts showing a genuine issue for trial.” Fed. R. Civ. P. 56(e)(2). The

non-moving party “cannot rely on unsupported allegations, but must go beyond

pleadings and provide some evidence that would show that there exists a genuine

issue for trial.” Jones v. United Parcel Serv., 214 F.3d 402, 407 (3d Cir. 2000).

Arguments made in briefs “are not evidence and cannot by themselves create a

factual dispute sufficient to defeat a summary judgment motion.” Jersey Cent.

Power & Light Co. v. Twp. of Lacey, 772 F.2d 1103, 1109-10 (3d Cir. 1985).

However, the facts and all reasonable inferences drawn therefrom must be viewed


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in the light most favorable to the non- moving party. P.N. v. Clementon Bd. of

Educ., 442 F.3d 848, 852 (3d Cir. 2006).

       Summary judgment should not be granted when there is a disagreement

about the facts or the proper inferences that a factfinder could draw from them.

Peterson v. Lehigh Valley Dist. Council, 676 F.2d 81, 84 (3d Cir. 1982). Still, “the

mere existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment; there must be a

genuine issue of material fact to preclude summary judgment.” Anderson, 477

U.S. at 247-48.

III.   DISCUSSION

       A.    FACTUAL BACKGROUND

       The facts of this case, which are essentially undisputed, are well known to

the parties and the Court, thus we shall only briefly summarize them herein. This

is a declaratory judgment action in which the parties dispute whether Pennsylvania

or New Jersey law should apply to an automobile insurance policy issued by

Amica to the Fogels. The policy was negotiated and delivered in New Jersey. At

the time of the negotiation and delivery, Amica was (and remains) a New Jersey

based insurance company and the Fogels were New Jersey residents. The Fogels

were subsequently involved in a tragic traffic accident that resulted in the fatality


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of one of their children. The accident occurred in Pennsylvania after the Fogels

had moved from New Jersey to Pennsylvania but before they had changed their

driver’s licenses, registration, and insurance to reflect their new status as

Pennsylvania residents.

      B.     RECOMMENDATION

      Within the R&R, Magistrate Judge Carlson undertook a choice of law

analysis, using Pennsylvania choice of law principles, and as a result of that

scrupulous analysis, he recommended that New Jersey law be applied to the

automobile insurance policy at issue. Thus, Magistrate Judge Carlson recommends

that the Plaintiff’s motion for summary judgment be granted and the Defendants’

cross-motion for summary judgment be denied.

      Magistrate Judge Carlson further recommends that summary judgment be

granted in favor of the Plaintiff on Defendants’ counterclaim for bad faith brought

pursuant to 42 Pa. C.S.A. § 8317.

      C.     OBJECTIONS

      The Defendants’ objections to the R&R voice their disagreement with the

recommendations offered by the Magistrate Judge, but offer the Court no reason to

reject his recommendations. First, Defendants’ assert that Magistrate Judge

Carlson came to the incorrect conclusion after application of Pennsylvania’s choice


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of law test to the matter sub judice. Thus, Defendants’ assert that Pennsylvania

law, not New Jersey law, should be applied to the policy at issue. Second,

Defendants disagree with Magistrate Judge Carlson’s recommendation that

summary judgment be granted in favor of the Plaintiff with respect to Defendants’

counterclaim for bad faith.

      As noted above, 28 U.S.C. § 636(b)(1) permits whatever reliance the district

court, in the exercise of sound discretion, chooses to place on a magistrate judge’s

proposed findings and recommendations. Our review of Magistrate Judge

Carlson’s R&R reveals a careful, well-reasoned and exhaustive analysis of the

parties’ motions and claims. We find absolutely no reason to disturb the

Magistrate Judge’s recommendation and shall adopt the same.

      We do, however, feel compelled to address an argument made by the

Defendants that the Court finds to be flatly incorrect. Defendants argue that it was

“impossible” to follow Amica’s procedure to obtain drivers licenses and register

vehicles when moving from New Jersey to Pennsylvania. To be clear, Amica

requires an insured moving from one state to another to obtain a driver’s license

and registration in the new state prior to issuing the new automobile insurance

policy, and it is Pennsylvania’s procedure to require proof of insurance prior to

registering a vehicle in the Commonwealth. Thus, in order to register a vehicle in


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Pennsylvania, the vehicle registration office and the insurance company essentially

must “swap” information simultaneously to meet both Amica’s and the

Commonwealth’s procedure. Upon notice from the notary that the vehicle is about

to be registered in Pennsylvania, Amica will fax or otherwise deliver to the notary

the registrant’s proof of insurance. Thus, the argument that the Fogels could not

have followed Amica’s procedures with respect to achieving a Pennsylvania

automobile insurance policy due to impossibility is meritless.

IV.      CONCLUSION

         Accordingly, for the reasons set forth above, the Defendants’ objections are

overruled and the R&R shall be adopted in its entirety. An appropriate Order shall

issue.




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